The essential elements of the crime of assault with intent to murder are as follows: (a) There must be an assault by one person on another with a weapon that in the manner in which it is used is likely to produce death. (b) The assault must be actuated by malice, either express or implied. (c) The assault must be made with the specific intent to kill on the part of the person making it. See Reddick v. State, 11 Ga. App. 150
(74 S.E. 901); Anderson v. State, 51 Ga. App. 98
(179 S.E. 654). In the instant case the jury was authorized to find that the assault was committed by the defendant upon the victim with a weapon that in the manner in which it was used was likely to produce death. It was authorized to find that the assault was actuated by malice. The jury was authorized to infer the intent to kill from the violence of the assault, the deadly nature of the weapon employed, the lack of provocation and other circumstances surrounding the assault and throwing light on the intent. See Benton v.  State, 9 Ga. App. 291 (2) (71 S.E. 8).
The verdict is supported by the evidence and the judgment of the trial court overruling the motion for a new trial is without error.
Judgment affirmed. MacIntyre, P. J., and Gardner, J.,concur.
                         DECIDED JULY 16, 1948.
The plaintiff in error, James McMullen, hereinafter referred to as the defendant, was tried and convicted in the Superior Court of Baldwin County for the offense of assault with intent to murder one Tommie Lee Allen. The evidence was in sharp conflict, but one phase of it when construed in its light most favorable to support the verdict, authorized the jury to find that the defendant on the afternoon of March 23, 1947, and on a public street of the City of Milledgeville and without provocation, stabbed Tommie Lee Allen in the chest with a knife; that as a result of this wound the victim was confined in Doctor Binion's Hospital for one month and for three months thereafter in the United States Naval Hospital at Dublin; that during a part of that time the victim was near death and is still to some extent affected by the wound.
The jury returned a verdict of guilty and fixed the punishment of the defendant at not less than 2 nor more than 8 years in the penitentiary. The defendant was accordingly sentenced by the trial court. He filed a motion for a new trial on the general *Page 455 
grounds only which was overruled, and this judgment is assigned as error.